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 1   JOHN E. SCHREIBER (SBN: 261558)
     DIANA HUGHES LEIDEN (267606)
 2   WINSTON & STRAWN LLP
     333 S. Grand Avenue #3800
 3   Los Angeles, CA 90071-1543
     Telephone: (213) 615-1700
 4   Facsimile: (213) 615-1750
     Email: jschreiber@winston.com
 5
     JEFFREY L. KESSLER (pro hac vice)
 6   A. PAUL VICTOR (pro hac vice)
     GEORGE E. MASTORIS (pro hac vice)
 7   WINSTON & STRAWN LLP
     200 Park Avenue
 8   New York, NY 10166-4193
     Telephone: (212) 294-6700
 9   Facsimile: (212) 294-4700
     Email: jkessler@winston.com
10
     Attorneys for Plaintiffs
11   HARMONI INTERNATIONAL SPICE, INC. AND
     ZHENGZHOU HARMONI SPICE CO., LTD.
12
13
                             UNITED STATES DISTRICT COURT
14
           CENTRAL DISTRICT OF CALIFORNIA -WESTERN DIVISION
15
16   HARMONI INTERNATIONAL SPICE,                         Case No. 2:16-cv-00614-AB-ASx
     INC., a California corporation, and
17   ZHENGHOU HARMONI SPICE CO.,                          Hon. André Birotte, Jr.
     LTD., a corporation,
18                                                        STIPULATION OF DISMISSAL
               Plaintiffs,                                WITH PREJUDICE OF
19                                                        DEFENDANTS ROBERT T. HUME
     v.                                                   AND STANLEY CRAWFORD [FED.
20                                                        R. CIV. P. RULE 41(a)]
     WENXUAN BAI, an individual, et al.,
21
               Defendants.
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                       STIPULATION FOR DISMISSAL WITH PREJUDICE [FED. R. CIV. P. §41(a)]
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 1         Subject to this Court’s approval, Plaintiffs Harmoni International Spice, Inc.
 2   and Zhengzhou Harmoni Spice Co., Ltd. (“Plaintiffs”) and Defendants Robert T.
 3   Hume and Stanley Crawford hereby jointly submit this Stipulation of Dismissal with
 4   Prejudice of Defendants Robert T. Hume and Stanley Crawford:
 5         WHEREAS, Plaintiffs and Defendants Robert T. Hume and Stanley Crawford
 6   have settled all claims in the Complaint, First Amended Complaint, Second Amended
 7   Complaint, and Third Amended Complaint, and have released any and all claims,
 8   counterclaims and defenses arising out of or related to the Action, including those
 9   that were brought or could have been brought by Plaintiffs, Hume, or Crawford; and
10         WHEREAS, it is stipulated by and between the Plaintiffs and Defendants
11   Robert T. Hume and Stanley Crawford, through their designated counsel, that the
12   above-captioned action, including the Complaint, First Amended Complaint, Second
13   Amended Complaint, and Third Amended Complaint against Defendants Robert T.
14   Hume and Stanley Crawford, be and hereby are dismissed with prejudice pursuant to
15   Federal Rule of Civil Procedure Rule 41(a).
16         IT IS SO STIPULATED.
17
18   DATED: August 28, 2019               WINSTON & STRAWN LLP

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                                          By: /s/ George E. Mastoris
21                                           JOHN E. SCHREIBER
22                                           JEFFREY L. KESSLER
                                             A. PAUL VICTOR
23                                           GEORGE E. MASTORIS
24                                           DIANA HUGHES LEIDEN
25
                                                Attorneys for HARMONI INTERNATIONAL
26                                              SPICE, INC., and ZHENGZHOU HARMONI
                                                SPICE CO., LTD.
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                       STIPULATION FOR DISMISSAL WITH PREJUDICE [FED. R. CIV. P. §41(a)]
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